Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Pages) &4GOQUATS

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UNITED STATES DISTRICT COURT ¢.oe te v0
for the District of Idaho

Nathanael Donald Lewis

Plaintiff
Case No: 2:24-cv-364 - AKB

Antony L. Blinken, in his Official capacity as
Secretary of State, et al.,

CORRECTED PROOF OF SERVICE

I, Lawrence Donald Lewis, hereby declare that on the py of August 2024, I served ALL
the paperwork for the Lawsuit to the following 5 Defendants. Included were the
SUMMONSES issued by the Federal Court in Boise. All these documents were sent in one
package to EACH Defendant on the same day, 26th of August 2024, Included also is the
SECOND statement under penalty of perjury that the SUMMONSES were served. That
statement is the District Court’s form on the back of the summons, included herewith, signed by
me, as sent August 26", 2024.

The CERTIFIED MAIL RECEIPTS for the original Complaint, Summons, and Exhibits were as
follows: I received a printout of the United States Postal Service package tracking website
whereby the complaint, summons, motion to compel, and all exhibits as reported in my
certificates of service by mail, we received by the parties listed below. USPS tracking is attached
herewith, and I certify under penalty of perjury that the information is authentic as reported on
the USPS website. The parties received the summons and complaint, according to the tracking
information below and the attached USPS report:

Antony L. Blinken

Secretary of State, United States of America

Executive Office of the Office of the Legal Adviser, U.S. Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522

Certified mail # 7019 2970 0001 0479 9788

Merrick Garland

United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue NW
Case 2:24-cv-00364-AKB Document 6-2 Filed 12/10/24 Page 2 of 48
Case 2:24-cv-00364-AKB Document 6-2 Filed 12/10/24 Page 3 of 48

Washington, DC 20530-0001
Certified mail # 7019 2970 0001 0479 9771

Paul Peek
Executive Office of the Office of the Legal Adviser, U.S. Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522
Certified mail #7019 2970 0001 0479 9795

Scott M. Miller

Executive Office of the Office of the Legal Adviser, U.S. Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522

Certified mail # 7019 2970 0001 0479 9801

Celeste F.

Executive Office of the Office of the Legal Adviser, U.S. Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522

Certified mail #7019 2970 0001 0479 9818

ce Donald Lewis, hereby swear that the foregoing statement is true.

Lik brati bes 2 Ip Nev 2024

awrence D. ‘Lewis
966 Bourbon Lane
Nordman, Idaho 83848

208-443-3852
larrynordlewis@povn.com

State of Idaho )
County of Bonner )

The rea instrument was sworn before me by Lor ENCE Tb aol Ew >

this A m day of Mowe Oey 2024,

#
Notary Name: 5 her MY Deu Sw Notary Public

SHERYL M AUSTIN
COMM. #20190655
NOTARY PUBLIC
STATE OF IDAHO

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Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 4 of 48
Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 5 of 48

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Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 17 of 48

UNITED STATES DISTRICT COURT

for the District of Idaho

Nathanael Donald Lewis

Plaintiff
Case No: 2:24-cv-364 - AKB

Antony L, Blinken, in his Official capacity as
Secretary of State, et al.,

CORRECTED PROOF OF SERVICE

I, Lawrence Donald Lewis, hereby declare that on the 26th day of August 2024, I served ALL
the paperwork for the Lawsuit to the following 5 Defendants. Included were the
SUMMONSES issued by the Federal Court in Boise. Ali these documents were sent in one
package to EACH Defendant on the same day, 26th of August 2024. Included also is the
SECOND statement under penalty of perjury that the SUMMONSES were served. That
statement is the District Court’s form on the back of the summons, included herewith, signed by
me, as sent August 26, 2024.

The CERTIFIED MAIL RECEIPTS for the original Complaint, Summons, and Exhibits were as
follows: I received a printout of the United States Postal Service package tracking website
whereby the complaint, summons, motion to compel, and all exhibits as reported in my
certificates of service by mail, we received by the parties listed below. USPS tracking is attached
herewith, and I certify under penalty of perjury that the information is authentic as reported on
the USPS website, The parties received the summons and complaint, according to the tracking
information below and the attached USPS report:

Antony L, Blinken

Secretary of State, United States of America

Executive Office of the Office of the Legal Adviser, U.S, Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522

Certified mail # 7019 2970 0001 0479 9788

Merrick Garland

United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue NW
Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 18 of 48

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Paul Peek
Executive Office of the Office of the Legal Adviser, U.S. Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522
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Scott M. Miller

Executive Office of the Office of the Legal Adviser, U.S. Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522

Certified mail # 7019 2970 0001 0479 9801

Celeste F.

Executive Office of the Office of the Legal Adviser, U.S. Department of State
600 19th Street NW, Suite 5.60

Washington, DC 20522

Certified mail # 7019 2970 0001 0479 9818

I, Law pepece Donald Lewis, hereby swear that the foregoing statement is true.

Zl 2 gq 2277
HAV] AVEC ,
Vawrence D. Lewis . :
966 Bourbon Lane
Nordman, Idaho 83848
208-443-3852
larrynordlewis@povn.com

State of Idaho )
County of Bonner

The foregoing instrument was sworn before me py / AWE wtb ALD LEW NS
this 9D Pay of (} Oven De yo , 2024,

Notary signature Vf PAAI a
Registration Number 1 Ol i us; u// QO2F)
Notary Name: 2 he ru | | Nv A uStinetary Public
VJ SHERYL M AUSTIN
COMM. #20190655
NOTARY PUBLIC
STATE OF IDAHO

Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 19 of 48

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Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 21 of 48
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FAQs

Proof of Service, Lewis v. Blinken, et al., p. Hor 11
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Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 23 of 48
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Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 26 of 48

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Antes vy 1. Blinken, et at. j
Defendani{s) }

SUMMONS IN A CIVIL ACTION

Vaor ebtesreedone te ame cand eechdyoxs) United States
Attorney General
U.S, Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530-0001

A tawsuli has been fled against you.

Within 21 days altey service of this summons on you (aot counting the day you received i) ~ or 60 days if you
ace the Creed States or a United States agency, of an oflicer or cmployee of the United States described in Fed, BR. Civ.
PEt ga 3) or 3) — you must serve on the plaintiffan answer to the attached complaint or a motion under Rute 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaints aitoracy,
WHI and address are:

Nathanael Donald Lewis
966 Bourbon Lane
Nordman, fdaho 83848

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‘ea fail to eespond, jodement by defaull will be entered against you far the relief demanded in the coupfan.
You alse snueat fe your answer or motion with the court,

@thlEs . United States Courtis
Og District of tdaho

ISSUED

AnneCopas
on Aug 15, 2024 70:08 am

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Sienutiee of Clerk ar Deputy Clerk

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CSREES Ldaev-OOSSHAKE Document J-1-Flled UWMBPA Page 2 of 2 “Ty ey
“AG 0 ev, OGrt2 Summons ina Civil Action Page 2)

Civil Action No, 2:24-cv-00364-AKB —

PROOF OF SERVICE
(This section should aot be filed with the court unless required by Fed. R. Civ. Pod

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On (dite) 3 OF
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, a person of suitable age and discretion who resides there,

ON (dete) , and mailed a copy to the individual's last known address: or

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designated by law to accept service of process on behalf of game uf organizations

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1 declare under penalty of perjury that this information is true.

Server's signature

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Natale Poth Pp. Lewis

Printed name and title

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’ Additional information regarding attempted service, ete:

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CASE BPA ECOL OPRMRR A HMADSASHAA pahegetsof 4

AO 440 (Rev, 1042) Summons aia Civil Action

ONITED STATES DISTRICT COURT

for tie
District of Idaho
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}
Nathanael Donald Lewis’ }
Plaintiffs) )
Vv. Civil Action No, 2:24-cv-00364-AKB
}
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_. )
Antony (.. Blinken, ef af. )
Defendant(s) }

SUMMONS TN A CIVEL ACTION

Tot (Defendund's name and address) Scott A. Miller
Executive Office of the Office of the Legal Adviser
U.S. Departinent of State
G00 19th Street NW, Suite 5.600
Washington DC 20522

A lawsuit has been filed against you,

Within 24 days after service of this summons on you (not counting the day you received it) — or GO days tl you
ave the United States or a United States ageney, or an officer or employee of the United States described in Ped. R. Civ,
P32 (ay?) or (3) —- sran nist serve on the plaintiff an answer to the atiached complaint or a motion under Rule £2 of
ithe Federal Rutes of Civil Procedure. The answer or motion niuast be served on the plaintut or plainfiffs attorney,
whose nanie and address are:

Nathanael! Donaid Lewis
966 Bourbon Lane
Nordman, Idaho 83846

Wyo fail to respond, judpment by default will be entered against you for the relief demanded in the contain,
You also unust file your answer or motion with the court.

United States Courts
District of daha

ISSUED

AnmreCopas
on Aug 75, 2024 10:10 am

Date: August 15, 2024

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Cass. 2:24 5y OOS AKG Dacument 2 bles A024, Baus 3¢ of 48 Cony

AD? 440 (Rov. 06/12} Syrumons it a Civil Action (Paye 2) . NN
Civil Action No. 2:24-cv-00364-AKB . . . : .

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 (D)

This sumimouns for (uame of individual and title, if any)

was teceived by me on {date}
yy personally served the summons on the individual at laces
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, aperson of suitable age and discretion who resides there,

Ont fare} : , and mailed a copy to the individual’s last known address; or

CTF I served the summons on frame of individual) . who is
designated by law to accept service of process on behalf of (aanie of organization)

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xo Other (specify): Maer ap deri [dhe # AAS Fpa¢ CP CUE /
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_My fees are $ / .- for travel and $ f ? . for services, for a total of $ 0.00

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1 declare under penalty of perjury that this information is true.

Date: [Le Aosist A224

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Printed name and title

Wp Bosben Lane

Server's address

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Additional information regarding attempted service, etc:

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AQ Bed (hee JT?) Sunmucas iia Civil Action

UNITED STATES DISTRICT COURT
for the

Distrtet al Idaho

Nathanael Donald Lewis
Phaintif(s)
vy. Civil Action No, 2:24-cv-00364-AKB

Antony L. Blinken, ef al.

Defendant(s)

Sete eee ee eee Nm Se net eta

SUMMONS UN A CIVIL ACTION

Vor Deteckaa'y mane aid address) Paul Peek
Director, Passport Adjudication
Executive Office of the Office of the Legal Adviser
U.S. Department of State
600 19th Street NW, Suite 5.600
Washington DC 20522

A lowsutt has been filed against you.

Within 20 days afler service of this summons on you (not counting the day you received it) -—- of GO days if you
ave the Ulvited States or a United States agency, or an officer or crmployee of the United States described in Fed. R. Civ,
2} or (3) —- you must serve on the plaintiffan answer to the attached complaint or a motion under Role (2 of
val Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's atlomey,
ahiose pars ad address are:

Nathanael Donald Lewis
966 Bourbon Lane
Nordman, Idaho 83848

if vou fail fo respond, judgment by default will be entered against you for the relief demanded in the complaint.
You alse nisi file your answer or motion with the court.

United States Courts ©
District of tdako

ISSUED

AnneCopas
on Aug 15, 2024 10:77 am

Dae fequst 15, 2024
Signature of Clerk ar Depity Clerk

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Case 2:24-cv-00364-AKB Document 4-1 File

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409 40} (Rey. 0612) Sununons ina Civil Action (Pape 2)

Civil Action No. 2:24-cv-00364-AKB oe . mn

PROOF OF SERVICE
(Thig section should not be filed with the court unless required by Fed, R. Civ. P. 4 (D)

This summons for fase of Co's and ditte, ifany) f AV f- P EE Ex

was received by me on (date; /'
ot personally served fhe summons on the individual at gpiace)
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. a person of suitable age and discretion who resides there.

On fidute} . , and mailed a cepy to the individual’s last known address; or.

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designated by law {o accept service of process on behalf of (name of organization)

on (dite) OC

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. My fees are S - O for travel and $ 2 for services, for a total of $ Goa

I declare under penalty of perjury that this information is true.

Date: /rugeat [ SE 204 oy Coy CL LY Seve
Server's signature

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Server's address

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Additonal information regarding attempted service, etc:
Case 2:24-cv-00364-AKB Document6-2 Filed 12/10/24 Page 37 of 48

CASE -vO0384-AKB Document4-2 Filed 08/15/24 Page i of 2

AG 440 ER, UGA) 2) Sunaions nea Civil Action

UNITED STATES DISTRICT COURT
! for the

Distriet of Idaho

Nethangael Donaki Lewis .
Pheintifi(s}
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Civil Action No, 2:24-ov-00364-AKB

Antony 1. Biinken, ef al.
Defendeanits)

Nee ee ne ee ee ce eee Te a

SUMMONS IN A CIVIL ACTION

‘Vor (Defendant's name and address)

Celeste F. (Passport Agent/Adjudicator)
Executive Office of the Office of the Legal Adviser
U.S. Departrnent of State

600 19th Street NW, Suite 5.600

Washington DC 20522

A dawsuil has been Mled against you,

Within 20 days after service of this summons on you (not counting the day you reecived it) — ar 60 days it you
ae dhe Viaiied States or a United Siates avency, or an officer or employee of the United States described in Fed. R. Civ,
P12 (a2) or (3) ~~ you must serve on the plaintiff an auswer to the atiached complaint or a motion under Rule F2 of
she Federat Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plainiit’s attorney,
whose Haine and address are:

Nathanael Donald Lewis
966 Bourbon Lane
Nordman, Idaho 83848

you fail to respond, judgment by default will be entered against you for the relief demanded in the conrplaint.
You also tnust file your answer er motion with the eourt,

United States Courts
District of Idaho

ISSUED

AnneCopas
on Aug 18, 2024 10:13 am

Date. August 15, 2024
Steaature of Cterk ov Deputy Clerk

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Case 2:24-cv-00364-AKB . Document 6-2° Filed 12/10/24 Page 38 of 48 og
Casé 2:24-cv-00364-AKB Document 4-2 “Filed 08/15/24 Page 2 of 2. Co M

AG 440 (Rev. 06/12) Summons in a Civil Action (Page xy
Civil Action No. 2:24-cv-00364-AKB-

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

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"on date) tor
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, a person of suitable age and discretion who resides there,

Ol (edate} . , and mailed a copy to the individual's last knowa address; or

1 served the summions on (sume of individual) . who is
designated by law to accept service of process on behalf of (aume of organization)

On date} ; or

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Additional information n repar ding attempted service, ete:

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AQ dA40 (Rev, 86/12) Stummons ia Civil Action

UNITED STATES DISTRICT COURT

for the
District of fdaho
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Nathanael Donald Lewis )
Plaintiffs) )
v. Civil Action No, 2:24-6v-00364-AKB
)
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)
Antony &., Blinken, et al. )
Defendant(s} }

SUMMONS IN A CIVEL ACTION

‘Tor (Defendant's name aad address}

Antony L. Blinken

Secretary of State, United States of America
Executive Office of the Office of the Legal Adviser
U.S. Department of State

G00 19th Street NW, Suite 5.600

Washington DC 20522

A lawsuit has been fled against you.

Within 20 days after service of this sunnnons on you (nol counting the day you reccived it) ---- or 60 days if you
are ihe United States or a United States apency, or an officer or employce of the United States described ta Fed. R. Civ.
PL $2 (a2) or (3) — you must serve on the plaintiff an answer to ihe atiached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. ‘The answer or notion minst be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Nathanael Donald Lewis
966 Bourbon Lane
Nordman, Idaho 83848

if you fail to respond, judpinent by default will be entered against you for the relief demanded in the complaint,
You alse must file your answer or motion with the court.

siATESc United States Courts :
& District of Idaho
i 8\* ISSUED
. By ry e AnneGopas
Date: August 15, o1y04 ce? on Aug 15, 2024 70:05 am

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AIG (Rev. U6/t2) Summons ina Civil Action (Page 3) - Xx

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Civil Action No. 2:24-ev-00364-AKB oo no . Ne”

PROOF OF SERVICE
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was received by me on (date) | 1 hee ol IW

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on date)
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My fees are $ 0 for travel and $ O) for services, for a total of $ 0.00

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Server's signature

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Additional information regarding attempted service, etc: a,

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United States Couris
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ISSUED

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on Aug 18, 2624 70:08 am

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Civil Action No. 2:24-cv-00364-AKB

PROOF OF SERVICE
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AO d40 (Rev. 06/72) Sunnnors toa Civil Actor

UNITED STATES DISTRICT COURT

for the
District af idaho

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Neithanael Donald Lewis’ )
Plaintiffs)

v. Civil Action No, 2:24-cv-00364-AKG

}

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Antony (. Blinken, et al. \
Defendant(s} }

SUMMONS TN A CIVEL ACTION

Tor (Dafendaal's nanre ard address} Scott A. Miller
Executive Office of the Office of the Legal Adviser
U.S. Depariment of State
600 19th Street NW, Suite 5.600
Washington DC 20522

A Tawsuit has been filed against you.

Within 21 days after scrvice of this sunmmons on you (rot counting the day you received if) — or 60 days if you
aie the \ sri ed States ora United States agency, or an officer or employee of the United States described in Ped. R. Civ,

the F rede ral Rules of Civil Procedure. ‘The answer or motion must be served on the plaintiif or plaiills attorney,
whose name and address are:

Nathanael Donald Lewis

966 Bourbon Lane

Noerdman, Idaho 83848

you fail to respond, judpment by default will be cntered against you for the relief deumanded in the complaint.
You alse ust file your answer or motion wilh the court.

United States Courts
Bistrict of Idaho

ISSUED

AmreCopas
on Aug 15, 2024 76:70 am

Date August 15, 2024
ate:
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Case 2:24-cy-00364-AKB “Document 6-2 _ Filed 12/10/24 Page 44 of 48

Case 2:24-cv-00364-AKB Document4 Filed 08/15/24 Page 2 of 2 CORY
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Civil Action No. 2:24-cv-00364-AKB : oO Te
PROOF OF SERVICE

(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 ()

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,# person of suitable age and discretion who resides there,

OM (dare} : , and matted a copy to the individual's last known address; or

(F Lserved the summons on frame of individual) who is
designated by law to accept service of process on behalf of (nate of organization)

' On date} “or

CJ I returned the summons untexecuted because .or

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Server's address

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Additional information regarding attempted service, ete:

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Case 4:2Apw Q08B4raKEcs Oegumeaheaes Filed ba/49/24 pRaga dn of 48

AQ TAL (oy te) 2) Summons ina Cid Action

for the

District of Idaho

Nainenael Donald Lewis
Plaintiffis}
v Civil Action No. 2:24-cv-00364-AKB

Anieny \.. Blinken, ef al.
Defendant(s}

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SUMMONS EN A CIVIL ACTION

Put Pk

charit's meat caned actress} Paul Peek

Director, Passport Adjudication

Executive Office of the Office of the Legal Adviser
U.S. Department of State

600 19th Street NW, Suite 5.600

Washington DC 20522

A hewsuil has been filed against you.

Within 21 days afler service of this sunmmons on you (noi counting (he day you received it) —- or 60 days ifyou
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or (3) —~ you must serve on the plaintiff an answer to the atlached complaint or a motion under Rule 12 of
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whose gece and address arc:

ave Hie Wing

Pose

Nathanael Donald Lewis
966 Bourbon Lane
Nordman, Idaho 83848

you Jail to respond, judgment by default will be entered against you for the relict demanded in the complaint.
You alse rnuat file your answer or motion with (he court,

United States Courts
District of idaho

ISSUED

AnneCopas
on Aug 15, 2024 10:17 am

Dare Paaqust 15, 2024
Sienatire af Clerk ar Beynedy Clerk

plft ee
Case 2:24-cv-00364-AKB Document 6-2 Filed 12/10/24 Page 46 of 48
Case 2:24-cv-00364-AKB Document 4-1 Filed 08/15/24 Page 2 of 2 Ca 1 2

ACY HD (Rey, 06/12} Summons ina Civil Actin Page 2)
Civil Action No, 2:24-cv-00364-AKB a nn

PROOF OF SERVICE
(This section should not be filed with the court uentess required by Fei. R. Civ, P. 4 (i)

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On (date) sor

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designated by law to accept service of process on behalf of (eae of organization)

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I declare under penalty of perjury that this information j is trne.

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Lawrence D. Lew i$

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Server's address

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Additional information regarding aitempted service, ete:

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AO 440 (Rey. 26/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Disirict of Idaho
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)
)
Nathanael Donald Lewis )
Plaintiff(s) )
v. Civil Action No. 2:24-cv-00364-AKB
)
Antony L. Blinken, et al. )
Defendant(s} )

SUMMONS IN A CFEVIL ACTION

To: Defadunt’s name and address) Celeste F. (Passport Agent/Adjudicator)
Executive Office of the Office of the Legal Adviser
U.S, Department of State
600 19th Street NW, Suite 5.600
Washington DC 20522

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ,
P. 12 (a2) or (3) — you must serve on the plaintiff an answer to the altached complaint or a motion under Rule 12 of
ihe Fedezal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Nathanael Donald Lewis
966 Bourbon Lane
Nordman, |daho 83848

1 you fail to respond, judgment by default will be entered against you for the relief demanded tn the complaint.
You alse must file your answer or motion wilh the court.

United States Courts

“4, District of idaho
ISSUED
fo ~~ AnneCopas

A we ys .
Oe. or oon Auy 15, 2024 10:43 am
Date: August 15, 2024

Signature of Clerk or Deputy Clerk —

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AG) AMO (Rev, 06/12} Stuunimons ina Civil Action (Page 2)

Civil Action No, 2:24-cv-00364-AKB VO

PROOF OF SERVICE
(This section should not be filed with the court uniess required by Fed. R. Civ. P. 4 (0)

This summons for fume of individual and tide, if any) Ce hesd2- -
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(I feft the summons at the individual’s residence or usual place of abode with rune)
. a person of suitable age and discretion who resides there,

OH fedate} : , and mailed a capy to the individual’s last knawn address; or

{ T served the summons on fuame of ddividnal) , whe is
designated by law to accept service of process on behalf of (name of organization)

On (date) *; OF

O [returned the snmmons unexecuted because

UX Lert man, balls PAB \Ga7-0 PEE cat
Vo Nee ee aah 210 cody O#79 4516

My fees are $ for traveland § , for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

ou yur ig 2004 awe ol Keser

NatZls ft paver” -'y signature
ath ce D. LewtF

Printed name aud title
Nog Boorbon Lane
orbit ideo 727A

Additional information regarding attempted service, ete:

peor
